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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                                Eastern Division

John Doe
                                               Plaintiff,
v.                                                          Case No.: 1:17−cv−07991
                                                            Honorable Harry D.
                                                            Leinenweber
Board of Trustees of Northern Illinois
University
                                               Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, December 28, 2017:


       MINUTE entry before the Honorable Harry D. Leinenweber:Plaintiff's
Uncontested Motion to stay the proceedings until the criminal matter in DeKalb county is
resolved[4] is granted.Mailed notice(wp, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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